          Case 2:22-cv-01431-JJT Document 54 Filed 11/28/22 Page 1 of 5




      David J. Bodney (006065)                  Jared G. Keenan (027068)
 1    bodneyd@ballardspahr.com                  Benjamin Rundall (031661)
      Matthew E. Kelley (037353)                K. M. Bell (037611)
 2    kelleym@ballardspahr.com                  America Civil Liberties Union Foundation
      Kennison Lay (037098)                     of Arizona
 3    layk@ballardspahr.com                     3707 North 7th Street, Suite 235
      BALLARD SPAHR LLP                         Phoenix, AZ 85014
 4    1 East Washington Street, Suite 2300      Telephone: (602) 650-1854
      Phoenix, AZ 85004-2555                    jkeenan@acluaz.org
 5    Telephone: 602.798.5400                   brundall@acluaz.org
      Facsimile: 602.798.5595                   kmbell@acluaz.org
 6
      Attorneys for Plaintiffs Arizona          Esha Bhandari
 7    Broadcasters Association; Arizona         Vera Eidelman
      Newspapers Association; Fox Television    Shreya Tewari
 8    Stations, LLC; Gray Media Group, Inc.     American Civil Liberties Union
      d/b/a KTVK-KPHO and d/b/a KOLD;           Foundation
 9    KPNX-TV Channel 12, a division of         125 Broad Street, 18th Floor
      Multimedia Holdings Corp.; National       New York, NY 10004
10    Press Photographers Association;          Telephone: (212) 549-2500
      Phoenix Newspapers, Inc.; Scripps         veidelman@aclu.org
11    Media, Inc. d/b/a KGUN-TV and d/b/a       ebhandari@aclu.org
      KNXV-TV; and State Newsroom/Arizona       stewari@aclu.org
12    Mirror; and Telemundo of Arizona LLC
                                                Attorneys for Plaintiff ACLU of Arizona
13
14                               UNITED STATES DISTRICT COURT

15                                 DISTRICT OF ARIZONA
     Arizona Broadcasters Association, an Arizona CV-22-1431-PHX-JJT
16   nonprofit corporation; American Civil Liberties
     Union of Arizona, an Arizona nonprofit corporation; PLAINTIFFS’ MOTION
17   Arizona Newspapers Association, an Arizona FOR JUDGMENT ON THE
     nonprofit corporation; Fox Television Stations,
18   LLC; Gray Media Group, Inc., d/b/a KTVK-KPHO PLEADINGS
     and d/b/a KOLD; KPNX-TV Channel 12, a division
19   of Multimedia Holdings Corp.; National Press
     Photographers Association; Phoenix Newspapers,
20   Inc., an Arizona Corporation; Scripps Media, Inc.,
     an Ohio Corporation, d/b/a KGUN-TV and d/b/a
21   KNXV-TV; States Newsroom/Arizona Mirror; and
     Telemundo of Arizona LLC;
22
                   Plaintiffs,
23
     v.
24
   Mark Brnovich, in his official capacity as Attorney
25 General for the State of Arizona; Rachel Mitchell, in
   her official capacity as Maricopa County Attorney;
26 and Paul Penzone, in his official capacity as
   Maricopa County Sheriff;
27
                  Defendants.
28
         Case 2:22-cv-01431-JJT Document 54 Filed 11/28/22 Page 2 of 5




 1          Pursuant to Federal Rule of Civil Procedure 12(c) and this Court’s November 22,
 2 2022, Order, Plaintiffs move for Judgment on the Pleadings against Defendant Mark
 3 Brnovich, in his official capacity as Attorney General for the State of Arizona.
 4          For all of the reasons stated in Plaintiffs’ Complaint and Plaintiffs’ Motion for
 5 Preliminary Injunction and Memorandum of Points and Authorities in Support, as well
 6 as this Court’s September 9, 2022 Order granting Plaintiffs’ request for a Preliminary
 7 Injunction in this matter, all of which are incorporated herein by reference, House Bill
 8 2319, codified at A.R.S. § 13-3732 (“HB2319”) violates the First Amendment of the
 9 U.S. Constitution, as applied to the states through the Fourteenth Amendment.
10          The only defense raised by the Attorney General is that he is “not a proper
11 Defendant” because the “threat of his enforcement” is “speculative.”1 This is incorrect.
12 As explained in Plaintiffs’ Reply to Defendants’ Statements of Non-Opposition to
13 Motion for Preliminary Injunction, also incorporated herein by reference, “[a] plaintiff
14 who mounts a pre-enforcement challenge to a statute that he claims violates his freedom
15 of speech need not show that the authorities have threatened to prosecute him; the threat
16 is latent in the existence of the statute.” California Pro-Life Council, Inc. v. Getman,
17 328 F.3d 1088, 1095 (9th Cir. 2003). Thus, all Plaintiffs need to show is that the
18 Attorney General could enforce HB2319, which the Attorney General himself conceded
19 in his Notice of Non-Opposition to Plaintiffs’ Motion for Preliminary Injunction. In that
20 Notice, the Attorney General admits that he could “accept a referral of ‘criminal
21 wrongdoing’”—in other words, prosecute someone for violating HB2319—“under
22 [A.R.S.] § 21-422(B)(8).”2
23
24   1
    It is not clear whether the Attorney General is attempting to raise a jurisdictional issue
   or a substantive argument on the merits; it appears to be the latter as it is described as a
25 claim that “Plaintiffs’ Complaint fails to state a claim upon which relief can be granted,
26 as it pertains to him”; in other words, a defense under Rule 12(b)(6).
     2
27   The Attorney General’s Answer does not deny that “Mr. Brnovich has the authority to
   enforce all of the laws of the State of Arizona, including HB2319,” instead asserting that
28 this is a “legal conclusion[].” Answer at ¶ 18.
         Case 2:22-cv-01431-JJT Document 54 Filed 11/28/22 Page 3 of 5




 1          The Attorney General has also repeatedly asserted that he is a “nominal
 2 defendant” and his Answer states that he “seeks nominal defendant status,” although the
 3 significance of that is not explained, and such status is irrelevant in this matter. The
 4 Attorney General’s status as a nominal defendant would be relevant if Plaintiffs sought
 5 monetary damages. See Streit v. Cnty. of Los Angeles, 236 F.3d 552, 566 (9th Cir. 2001)
 6 (“In determining whether an entity is an arm of the state we inquire whether “‘the state
 7 is the real, substantial party in interest and is entitled to invoke its sovereign immunity
 8 from suit even though individual officials [or state entities] are nominal defendants.’”).
 9 However, this lawsuit seeks only prospective equitable relief from a federal
10 constitutional violation, meaning the Attorney General in his official capacity is a proper
11 defendant for Eleventh Amendment purposes. See In re Ellett, 254 F.3d 1135, 1138 (9th
12 Cir. 2001), as amended on denial of reh’g and reh’g en banc (Aug. 27, 2001) (citing Ex
13 Parte Young, 209 U.S. 123, 159-60 (1908)). In this case, Plaintiffs are seeking only a
14 declaratory judgment and permanent injunction, which are equitable forms of relief.3
15 Therefore, whether the state is the real party in interest and the Attorney General a
16 nominal defendant is irrelevant.4
17
     3
     Once judgement is entered Plaintiffs intend to seek an award of their attorneys’ fees,
18
   for which state sovereign immunity has been abrogated by Congress. Quern v. Jordan,
19 440 U.S. 332, 344, 99 S. Ct. 1139, 1147, 59 L. Ed. 2d 358 (1979) (“in enacting the Civil
   Rights Attorney’s Fees Awards Act of 1976, 42 U.S.C. § 1988, Congress intended to
20 override the Eleventh Amendment immunity of the States and authorize fee awards
21 payable by the States when their officials are sued in their official capacities,” under 42
   U.S.C. § 1983).
22
   4
      In a similar case, Harris v. Arizona Indep. Redistricting Comm’n, 993 F. Supp. 2d
23
   1042 (D. Ariz. 2014), aff’d, 578 U.S. 253, 136 S. Ct. 1301, 194 L. Ed. 2d 497 (2016),
24 the maps drawn by Arizona’s independent Redistricting Commission were subject to
   legal challenge. The parties did not dispute that the Secretary of State, who had nothing
25 to do with drawing the maps but had to enforce them, was a proper defendant in the case
26 (the commissioners were dismissed due to legislative immunity). In a footnote, the court
   referred to the Secretary of State as a “nominal defendant.” Similarly, in this case the
27 Attorney General is a defendant in his official capacity because he has the ability to
   enforce the law.
28                                                2
      Case 2:22-cv-01431-JJT Document 54 Filed 11/28/22 Page 4 of 5




 1         Plaintiffs therefore respectfully request that this Court:
 2         1)     Enter a permanent injunction, enjoining all Defendants and their officers,
 3 agents, servants, employees, and attorneys, and those persons in active concert or
 4 participation with them who receive actual notice of the injunction, from taking any
 5 action to enforce HB2319; and
 6         2)     Issue a declaratory judgment that HB2319 on its face violates the First
 7 Amendment of the United States Constitution, as applied to the states through the
 8 Fourteenth Amendment.
 9         Dated this 28th day of November, 2022.
10                               AMERICAN CIVIL LIBERTIES UNION FOUNDATION
11                               OF ARIZONA
                                 By: /s/ K.M. Bell
12
                                       Jared G. Keenan
13                                     Benjamin Rundall
                                       K. M. Bell
14
15                               AMERICAN CIVIL LIBERTIES UNION FOUNDATION
                                 By: /s/ Esha Bhandari
16
                                       Esha Bhandari
17                                     Vera Eidelman

18                               Attorneys for Plaintiff American Civil Liberties Union of
19                               Arizona

20                               BALLARD SPAHR LLP
21                               By:   /s/ Matthew E. Kelley
                                        David J. Bodney
22                                      Matthew E. Kelley
23                                      Kennison Lay
                         Attorneys for Plaintiffs Arizona Broadcasters Association; Arizona
24                       Newspapers Association; Fox Television Stations, LLC; Gray
25                       Media Group, Inc. d/b/a KTVK-KPHO and d/b/a KOLD; KPNX-
                         TV Channel 12, a division of Multimedia Holdings Corp.; National
26                       Press Photographers Association; Phoenix Newspapers, Inc.;
27                       Scripps Media, Inc. d/b/a KGUN-TV and d/b/a KNXV-TV; States
                         Newsroom/Arizona Mirror; and Telemundo of Arizona LLC
28                                                 3
       Case 2:22-cv-01431-JJT Document 54 Filed 11/28/22 Page 5 of 5




 1                               CERTIFICATE OF SERVICE
 2          I hereby certify that on November 28, 2022, I electronically transmitted the
 3 attached document to the Clerk’s office using the CM/ECF System for filing. Notice of
 4 this filing will be sent by email to all parties by operation of the Court’s electronic filing
 5 system.
                                 /s/ K.M. Bell
 6
                                     K. M. Bell
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                  4
